                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                       )
 ADRIAN ROSALIO REYES OVALLE;)
 JUAN MARIO REYES OVALLE;              )
 MIGUEL ANGEL REYES OVALLE; )
 LUIS MIGUEL ROQUE OVALLE;             )
 BENJAMIN RUIZ VAZQUEZ; and            )            CIVIL ACTION NO. 2:21-cv-03591
 PATRICK ULUPANO,                      )
               Plaintiffs,             )
       v.                              )
 HARRIS BLACKTOPPING, INC. d.b.a.)
       HARRIS PAVING;                  )
 JAMES W. HARRIS, JR.; and HARRY )A.
 HARRIS,                               )
               Defendants              )
                                       )
                                       )
                                       )
                            THIRD AMENDED
                                       )          COMPLAINT
                                       )
      Plaintiffs Adrian Rosalio Reyes Ovalle, Juan Mario Reyes Ovalle, Miguel Angel Reyes

Ovalle, Luis Miguel Roque Ovalle, Benjamin Ruiz Vazquez, and Patrick Ulupano (collectively,

“Plaintiffs”), by and through undersigned counsel, bring this action against Defendants Harris

Blacktopping, Inc. d.b.a. Harris Paving, James W. Harris, Jr., and Harry A. Harris (collectively,

“Defendants”), and hereby allege as follows:

                                    NATURE OF ACTION

       1.      Defendants employed Plaintiffs between 2014 and 2020.

       2.      During that time, Defendants failed to pay Plaintiffs for all hours worked and

failed to pay overtime when required by law.

       3.      Defendants discriminated against Plaintiffs. On the basis of race, color, and/or

national origin, Plaintiffs were subjected to unlawful and unfavorable pay practices, were

assigned lower-paying and more demanding tasks, and were harassed with profane and

demeaning verbal abuse while at work.


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       4.      Following certain Plaintiffs’ separation from Defendants’ employ, Defendants

contacted other companies with whom those Plaintiffs sought to work, to encourage those

companies to refuse to work with Plaintiffs. Defendants successfully convinced at least one

company to refuse to work with Plaintiffs.

       5.      Plaintiffs seek relief under the Fair Labor Standards Act of 1938, 29 U.S.C. § 201,

et seq., (the “FLSA”), the Pennsylvania Minimum Wage Act of 1968, 43 P.S. § 333.101, et seq.,

(the “PMWA”), the Pennsylvania Wage Payment and Collection Law, 43 P.S. § 260.1, et seq.,

(the “WPCL”), the Civil Rights Act of 1866 as amended, 42 U.S.C. § 1981 (“Section 1981”),

Title VII of the Civil Rights Act, as amended, 42 U.S.C. § 2000e-2(a), and Pennsylvania

common law breach of contract, unjust enrichment, and intentional interference with prospective

contractual relations.

                                 JURISDICTION AND VENUE

       6.      This Court has jurisdiction over Plaintiffs’ FLSA claims pursuant to 29 U.S.C.

§ 216(b) and 28 U.S.C. § 1331.

       7.      This Court has supplemental jurisdiction over Plaintiffs’ state law claims because

those claims derive from a common nucleus of operative facts as the FLSA claims. 28 U.S.C

§ 1367.

       8.      This Court has jurisdiction over Plaintiffs’ 42 U.S.C. § 1981 claims under 28

U.S.C. §§ 1331, 1343.

       9.      This Court has jurisdiction over Plaintiffs’ Title VII claims pursuant to 28 U.S.C.

§ 1331.

       10.     Plaintiffs Adrian Rosalio Reyes Ovalle, Juan Mario Reyes Ovalle, Luis Miguel

Roque Ovalle, and Benjamin Ruiz Vazquez have exhausted the administrative remedies set forth




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under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-5, as follows:

         a.     On or about February 24, 2021, the aforementioned Plaintiffs each filed Charges

 of Discrimination with the U.S. Equal Employment Opportunity Commission (“EEOC”) against

 Harris Blacktopping, Inc. d.b.a. Harris Paving (“Defendant Harris Blacktopping”).

         b.     On August 30, 2021, the EEOC issued Notices of Right to Sue to the

 aforementioned Plaintiffs. See Exhs. A-D.

         c.     Plaintiffs filed this action within 90 days of receipt of the Notices.

        11.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because a

substantial part of the events giving rise to Plaintiffs’ claims occurred in this judicial district.

Defendants are incorporated in and conduct business in this judicial district.

                                              PARTIES

Plaintiffs

        Adrian Rosalio Reyes Ovalle

        12.     Adrian Rosalio Reyes Ovalle (“Plaintiff Adrian Reyes”) worked for Defendants

from approximately 2014 until September 1, 2020.

        13.     Plaintiff Adrian Reyes is Latino, brown-skinned, and of Mexican origin.

        Juan Mario Reyes Ovalle

        14.     Juan Mario Reyes Ovalle (“Plaintiff Juan Reyes”) worked for Defendants from

approximately 2017 to October 2020.

        15.     Plaintiff Juan Reyes is Latino, brown-skinned, and of Mexican origin.

        Miguel Angel Reyes Ovalle

        16.     Miguel Angel Reyes Ovalle (“Plaintiff Miguel Reyes”) worked for Defendants

from approximately 2017 to December 2019.




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          17.   Plaintiff Miguel Reyes is Latino, brown-skinned, and of Mexican origin.

          Luis Miguel Roque Ovalle

          18.   Luis Miguel Roque Ovalle (“Plaintiff Luis Roque”) worked for Defendants from

approximately May 2020 until October 2, 2020.

          19.   Plaintiff Luis Roque is Latino, brown-skinned, and of Mexican origin.

          Benjamin Ruiz Vazquez

          20.   Benjamin Ruiz Vazquez (“Plaintiff Benjamin Ruiz”) worked for Defendants from

approximately 2019 to October 2020.

          21.   Plaintiff Benjamin Ruiz is Latino, brown-skinned, and of Mexican origin.

          Patrick Ulupano

          22.   Patrick Ulupano (“Plaintiff Patrick Ulupano”) worked for Defendants from

approximately 2015 to December 2018.

          23.   Plaintiff Patrick Ulupano is a Pacific Islander, brown-skinned, and of Samoan

origin.

          24.   Plaintiff Patrick Ulupano is the brother of the wife of Plaintiff Adrian Reyes.

Defendants and their agents perceived Plaintiff Patrick Ulupano as related to Plaintiff Adrian

Reyes, and of the same national origin—Mexican—as Plaintiff Adrian Reyes.

Defendants

          Harris Blacktopping, Inc. d.b.a. Harris Paving

          25.   Defendant Harris Blacktopping is a Pennsylvania business corporation with its

registered address at 869 Sandy Run Road, Yardley, PA 19067 and a Department of State

Corporation Bureau Entity Number of 958178.




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       26.      Defendant Harris Blacktopping conducts business out of an office in Washington

Crossing, Pennsylvania and a workshop in Morrisville, Pennsylvania. It operates throughout

Bucks County, Pennsylvania, and the surrounding areas.

       27.      Defendant Harris Blacktopping employs individuals in commerce or in the

production of goods for commerce and/or handling, selling, or otherwise working on goods or

materials that have been moved in or produced in commerce by any person, as required by 29

U.S.C. §§ 206-207.

       28.      Upon information and belief, the annual gross volume of sales made or business

done by Defendant Harris Blacktopping exceeds $500,000.

       29.      At all times relevant to this lawsuit, Defendant Harris Blacktopping was acting by

and through its principals, agents, servants, and employees including, but not limited to,

Defendants James W. Harris, Jr. and Harry A. Harris.

       James W. Harris, Jr.

       30.      James W. Harris, Jr. (“Defendant James Harris”) resides in Bucks County,

Pennsylvania.

       31.      At all relevant times, Defendant James Harris maintained a principal business

address in Bucks County.

       32.      Defendant James Harris is the President of Defendant Harris Blacktopping.

       33.      At all times relevant to this lawsuit, Defendant James Harris was acting on his

own behalf and/or on behalf of Defendant Harris Blacktopping.

       34.      Defendant James Harris, along with Defendant Harry Harris, enjoyed the

authority to hire, fire, and discipline Plaintiffs while they were employees of Defendant Harris

Blacktopping.




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       35.      Defendant James Harris set the rate of pay for Plaintiffs while they were

employees at Harris Blacktopping.

       36.      Defendant James Harris, along with Defendant Harry Harris, promulgated work

rules and assignments to Plaintiffs while Plaintiffs were employees of Defendant Harris

Blacktopping.

       37.      Defendant James Harris, along with Defendant Harry Harris, defined Plaintiffs’

work schedules while Plaintiffs were employees of Defendant Harris Blacktopping.

       38.      Defendant James Harris, along with Defendant Harry Harris, supervised

Plaintiffs’ work while Plaintiffs were employees of Defendant Harris Blacktopping.

       39.      Defendant James Harris, along with Defendant Harry Harris, controlled Plaintiffs’

employee records, including payroll and record of hours worked. Defendant James Harris

sometimes instructed the Harris Blacktopping office manager to alter downward the record of the

number of hours Plaintiffs worked.

       40.      Defendant James Harris is an employer under 29 U.S.C. § 203(d), 43 P.S.

§§ 260.2a; 333.103(g), and regulations promulgated thereunder, and is jointly and severally

liable with Defendants Harris Blacktopping and Harry A. Harris.

       Harry A. Harris

       41.      Harry A. Harris (“Defendant Harry Harris”) resides in Bucks County,

Pennsylvania.

       42.      At all relevant times, Defendant Harry Harris maintained a principal business

address in Bucks County.

       43.      Defendant Harry Harris is the Vice President of Defendant Harris Blacktopping.




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       44.      At all times relevant to this lawsuit, Defendant Harry Harris was acting on his

own behalf and/or on behalf of Defendant Harris Blacktopping.

       45.      Defendant Harry Harris, along with Defendant James Harris, enjoyed the

authority to hire, fire, and discipline Plaintiffs while they were employees of Defendant Harris

Blacktopping.

       46.      Defendant Harry Harris, along with Defendant James Harris, promulgated work

rules and assignments to Plaintiffs while Plaintiffs were employees of Defendant Harris

Blacktopping.

       47.      Defendant Harry Harris, along with Defendant James Harris, defined Plaintiffs’

work schedules while Plaintiffs were employees of Defendant Harris Blacktopping.

       48.      Defendant Harry Harris, along with Defendant James Harris, supervised

Plaintiffs’ work while Plaintiffs were employees of Defendant Harris Blacktopping.

       49.      Defendant Harry Harris, along with Defendant James Harris, controlled Plaintiffs’

employee records, including payroll and record of hours worked.

       50.      Defendant Harry Harris is an employer under 29 U.S.C. § 203(d), 43 P.S.

§§ 260.2a; 333.103(g), and regulations promulgated thereunder, and is jointly and severally

liable with Defendants Harris Blacktopping and James Harris.

                                   STATEMENT OF FACTS

       51.      Defendant Harris Blacktopping performs asphalt paving, construction,

landscaping, and resurfacing services for highways, roadways, parking lots, tennis courts, and

driveways, among other tasks.

       52.      Defendant Harris Blacktopping bids on and accepts contracts throughout

southeastern Pennsylvania and New Jersey.




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       53.      Defendant Harris Blacktopping pays workers at different rates depending on the

task they perform and the contract they are completing.

        a.      Workers operating large machinery are paid at a significantly higher hourly rate

than workers who perform manual labor like shoveling and raking asphalt.

        b.      Workers performing contracts for local governments, which are covered by the

Prevailing Wage Act (“PWA”), 43 P.S. § 165, et seq., are also paid at significantly higher

hourly rates.

       54.      Operating large machinery is significantly less physically demanding than

performing manual labor. The insides of certain machines are air-conditioned.

       55.      Each day, employees of Defendant Harris Blacktopping must travel to the

worksites, wherever they are located, to work for the day.

Contract Formation

       56.      At the suggestion of a friend, Plaintiff Adrian Reyes approached Defendant Harry

Harris about a job working for Harris Blacktopping. In or around 2014, Plaintiff Adrian Reyes

and Defendant Harry Harris spoke in person about the type of work Defendants needed to be

done and about Plaintiff Adrian Reyes’s work experience.

       57.      Defendant Harry Harris told Plaintiff Adrian Reyes that he would discuss an

employment offer with Defendant James Harris. Eventually, Defendants Harry Harris and James

Harris offered to pay Plaintiff Adrian Reyes a starting rate of $19 per hour worked, and to

employ him as a roller machine operator. Plaintiff Adrian Reyes made a counter offer of $20 per

hour worked, which Defendants James and Harry Harris accepted.

       58.      Plaintiff Adrian Reyes learned early in his tenure working for Defendants that part

of the work entailed completing projects for government contracts that paid an elevated hourly




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rate. In those early days, Defendants typically paid Plaintiff Adrian Reyes an elevated hourly

rate, as required by law, for such work.

          59.   In or around 2017, Plaintiff Adrian Reyes told Defendant James Harris that

Plaintiff Juan Reyes was looking for work. Defendant James Harris told Plaintiff Adrian Reyes

that Defendant Harris Blacktopping would pay Plaintiff Juan Reyes $21 per hour worked.

Defendant James Harris told Plaintiff Adrian Reyes that, aside from base rate of pay, Plaintiff

Juan Reyes’s terms of employment would be the same as Plaintiff Adrian Reyes’s terms of

employment.

          60.   Plaintiff Juan Reyes accepted this offer by informing Plaintiff Adrian Reyes (who

conveyed this agreement to Defendant James Harris) and by reporting to work and performing

labor on the first day Defendant James Harris requested Plaintiff Juan Reyes appear.

          61.   In or around 2017, Plaintiff Adrian Reyes told Defendant James Harris that

Plaintiff Miguel Reyes was looking for work. Defendant James Harris told Plaintiff Adrian

Reyes that he would pay Plaintiff Miguel Reyes $16 per hour worked. Defendant James Harris

told Plaintiff Adrian Reyes that, aside from base rate of pay, Plaintiff Miguel Reyes’s terms of

employment would be the same as Plaintiff Adrian Reyes’s terms of employment.

          62.   Plaintiff Miguel Reyes accepted this offer by informing Plaintiff Adrian Reyes,

(who conveyed this agreement to Defendant James Harris) and by reporting to work and

performing labor on the first day Defendant James Harris requested Plaintiff Miguel Reyes

appear.

          63.   In or around 2020, Plaintiff Adrian Reyes asked Defendant James Harris if there

was a job opening for Plaintiff Luis Roque. Defendant James Harris told Plaintiff Adrian Reyes

that there was a job opening, which Plaintiff Adrian Reyes conveyed to Plaintiff Luis Roque.




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Defendant James Harris told Plaintiff Adrian Reyes that, aside from base rate of pay and not

being hired as an operator, Plaintiff Luis Roque’s terms of employment would be the same as

Plaintiff Adrian Reyes’s terms of employment.

          64.   Plaintiff Luis Roque accepted this offer by informing Plaintiff Adrian Reyes (who

conveyed this agreement to Defendant James Harris) and by reporting to work and performing

labor on the first day Defendant James Harris requested Plaintiff Luis Roque appear.

          65.   In or around 2019, Plaintiff Adrian Reyes asked Defendant James Harris if there

was a job opening for Plaintiff Benjamin Ruiz. Defendant James Harris told Plaintiff Adrian

Reyes that there was a job opening, which Plaintiff Adrian Reyes conveyed to Plaintiff Benjamin

Ruiz. Defendant James Harris told Plaintiff Adrian Reyes that, aside from base rate of pay and

not being hired as an operator, Plaintiff Benjamin Ruiz’s terms of employment would be the

same as Plaintiff Adrian Reyes’s terms of employment.

          66.   Plaintiff Benjamin Ruiz accepted this offer by informing Plaintiff Adrian Reyes

(who conveyed the agreement to Defendant James Harris) and by reporting to work and

performing labor on the first day Defendant James Harris requested Plaintiff Benjamin Ruiz

appear.

          67.   In or around 2015, while Plaintiff Patrick Ulupano was living in Portland,

Oregon, Plaintiff Patrick Ulupano’s sister, Margaret, spoke to Defendant James Harris about a

job for Plaintiff Patrick Ulupano. Defendant James Harris told Margaret and Plaintiff Adrian

Reyes that he would offer a job to Plaintiff Patrick Ulupano if Plaintiff Patrick Ulupano moved

to Pennsylvania. Defendant James Harris told Margaret and Plaintiff Adrian Reyes that, aside

from base rate of pay and not being hired as an operator, Plaintiff Patrick Ulupano’s terms of

employment would be the same as Plaintiff Adrian Reyes’s terms of employment.




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        68.       Plaintiff Patrick Ulupano accepted the offer by informing Margaret, who

conveyed his agreement to Defendant James Harris. Plaintiff Patrick Ulupano then moved to

Pennsylvania. He attended his first day of work at Defendant Harris Blacktopping shortly

thereafter.

        69.       During the course of Plaintiffs’ employment with Defendants, Defendants

informed Plaintiffs that Defendants would provide Plaintiffs with paid vacation days each year,

and that Defendants would pay Plaintiffs for unused vacation days at the point Plaintiffs

separated from employment at Harris Blacktopping.

Wage Violations

        70.       Plaintiffs recorded hours worked by handwriting them in notebooks or on

timecards.

        71.       Plaintiffs’ records of hours worked typically included the location of the job and

whether the hours were performed on a PWA contract.

        72.       On a weekly basis, Plaintiffs submitted their timesheets to Defendant Harris

Blacktopping.

        73.       Defendants paid Plaintiffs at various hourly rates, depending on the job assigned

to them.

           a.     Defendants assigned each Plaintiff an individual base hourly rate of pay (the

 “base rate”). Defendants agreed with some Plaintiffs on base rates prior to those Plaintiffs’ first

 day of work. Defendants informed other Plaintiffs upon arrival to work what their base rate

 would be. See supra ¶¶ 56-69.

                i. Defendants raised employees’ base rates slowly over time.




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                ii. Defendants agreed to pay Plaintiffs this base rate when Plaintiffs performed

           manual labor on weekdays on contracts not covered by the PWA.

                iii. Plaintiffs’ initial base rates were as follows: Plaintiff Adrian Reyes, $20/hour;

           Plaintiff Juan Reyes, $21/hour; Plaintiff Miguel Reyes, $17/hour; Plaintiff Luis Roque,

           $20/hour; Plaintiff Patrick Ulupano, $17/hour.

           b.      Defendants typically paid employees at various elevated hourly rates of pay when

they worked on contracts on weekdays covered by the PWA.

                 i. When employees performed manual labor on contracts covered by the PWA,

           Defendants paid employees at elevated hourly rates mandated by the PWA (a “labor

           PWA rate”).

                ii. When employees operated machinery on contracts covered by the PWA,

           Defendants paid employees at elevated hourly rates mandated by the PWA (an “operator

           PWA rate”).

                iii. Upon information and belief, operator PWA rates were always higher than labor

           PWA rates.

       74.         Defendants sometimes paid Plaintiffs at their individual base rates for hours that

should have been compensated at a labor PWA rate or at an operator PWA rate.

       75.         Defendants sometimes paid Plaintiffs at a labor PWA rate for hours that should

have been compensated at an operator PWA rate.

       76.         Although Plaintiffs recorded their hours worked on timecards and submitted them

to Defendants, when Plaintiffs received their pay, often several hours of wages per week were

missing.




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       77.     Plaintiffs typically worked more than forty (40) hours between Monday and

Friday. As discussed in more detail below, Plaintiffs regularly performed additional hours of

work on weekends.

       78.     Over the course of a “workweek” (defined as spanning Monday through Sunday

by Defendants’ payroll system) Plaintiffs routinely worked more than forty (40) hours.

       79.     Defendants were aware of the work beyond forty (40) hours in a week that

Plaintiffs performed because Defendants instructed Plaintiffs when and where they should work,

because Defendants were typically present on worksites with Plaintiffs, because Defendants and

Plaintiffs communicated via text message and telephone conversation about work assignments,

and because Plaintiffs sent Defendants records of hours worked (with the exception of hours

Defendants instructed Plaintiffs not to record, as discussed otherwise throughout this Complaint).

       80.     Defendants typically failed to pay an overtime premium of one and one-half (1½)

times Plaintiffs’ regular rate of pay for hours worked over forty (40) in a workweek. For

example, Plaintiffs worked more than forty (40) hours in the workweek and were not paid an

overtime premium for those hours during the following weeks:

        a.     Plaintiff Adrian Reyes worked more than forty (40) hours during the week ending

on June 23, 2019. He was not paid an overtime premium.

        b.     Plaintiff Juan Reyes worked more than forty (40) hours during the week ending

on June 23, 2019. He was not paid an overtime premium.

        c.     Plaintiff Miguel Reyes worked more than forty (40) hours during the week ending

on June 23, 2019. He was not paid an overtime premium.

        d.     Plaintiff Luis Roque worked more than forty (40) hours during the week ending in

August 30, 2020. He was not paid an overtime premium.




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        e.      Plaintiff Benjamin Ruiz worked more than forty (40) hours during the week

ending on June 23, 2019. He was not paid an overtime premium.

        f.      Plaintiff Patrick Ulupano worked more than forty (40) hours during the week

ending on December 16, 2018. He was not paid an overtime premium.

        81.     Plaintiffs worked on weekends.

        a.      On weekends, Defendants instructed Plaintiffs not to record their hours.

        b.      On weekends, Defendants paid Plaintiffs at a daily rate, rather than an hourly rate.

Defendants did not tell Plaintiffs in advance how much they would be paid per day on the

weekend.

        c.      For weekend work, Plaintiffs’ effective hourly rate was below their assigned base

rate.

        d.      Defendants paid Plaintiffs for work performed on weekends in cash.

        e.      Plaintiffs usually worked two to three weekends per month.

        f.      The hours Plaintiffs worked on weekends routinely caused Plaintiffs to work over

forty (40) hours per week. Plaintiffs were not paid an overtime premium for these hours. For

example:

              i. During the workweek ending on May 5, 2019, Plaintiff Adrian Reyes worked

        more than forty (40) hours between Monday and Friday. He then worked additional

        hours over the weekend. He was not paid an overtime premium for hours beyond forty

        (40) that week.

              ii. During the workweek ending on May 17, 2020, Plaintiff Juan Reyes worked more

        than forty (40) hours between Monday and Friday. He then worked additional hours




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       over the weekend. He was not paid an overtime premium for the weekend hours that he

       worked.

            iii. During the workweek ending on May 5, 2019, Plaintiff Miguel Reyes worked

       more than forty (40) hours between Monday and Friday. He then worked additional

       hours over the weekend. He was not paid an overtime premium for hours beyond forty

       (40) that week.

            iv. During the workweek ending on May 17, 2020, Plaintiff Luis Roque worked more

       than forty (40) hours between Monday and Friday. He then worked additional hours

       over the weekend. He was not paid an overtime premium for the weekend hours that he

       worked.

            v. During the workweek ending on May 5, 2019, Plaintiff Benjamin Ruiz worked

       more than forty (40) hours between Monday and Friday. He then worked additional

       hours over the weekend. He was not paid an overtime premium for hours beyond forty

       (40) that week.

            vi. During the workweek ending on December 9, 2018, Plaintiff Patrick Ulupano

       worked almost forty (40) hours between Monday and Friday. He then worked an

       additional day over the weekend, bringing his total hours worked for the week above

       forty (40). He was not paid an overtime premium for hours beyond forty (40) that week.

       g.      Upon information and belief, weekend hours worked by Plaintiffs were not

recorded in Defendants’ payroll system.

      82.      Defendants decided when workdays “officially” began and ended.

       a.      On a daily or almost daily basis, Plaintiffs were expected to perform work for

Defendants before and after the workday “officially” began.




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        b.     Before the workday “officially” began, Defendants required Plaintiffs to clean

 and prepare machinery.

        c.     Before the workday “officially” began, Defendants sometimes required Plaintiffs

 to arrive at the Harris Blacktopping workshop in Morrisville, load trucks with equipment and

 materials, and then drive to a worksite.

        d.     After the workday “officially” ended, Plaintiffs were sometimes required to drive

 back to the Harris Blacktopping workshop in Morrisville and unload materials there.

        e.     Defendants instructed Plaintiffs not to record hours worked before the workday

 “officially” began and after the workday “officially” ended.

        f.     Plaintiffs were not compensated for work they performed before the workday

 “officially” began or after the workday “officially” ended.

       83.     Some worksites were located more than an hour-and-a-half away from the Harris

Blacktopping workshop in Morrisville and from Plaintiffs’ homes in Bucks County.

       84.     Plaintiffs were not compensated for the time they spent driving to and from

worksites each day, regardless of whether they performed work before travel to, or after travel

from, the day’s worksite.

Discrimination

       Disparate Treatment

       85.     Plaintiffs experienced unlawful and unfavorable pay practices, were assigned

lower-paying and more demanding tasks, and were subjected to profane and demeaning

harassment while at work. Plaintiffs were treated in these ways on the basis of protected

characteristics, including race, color, and/or national origin.




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       86.     Defendant Harris Blacktopping did not pay Plaintiffs for all hours worked. On

many occasions, hours were missing from paychecks. See supra ¶ 76. Upon information and

belief, Defendants compensated non-Latino, white, and/or American workers for all hours

worked.

       87.     Plaintiffs typically earned a lower base rate of pay than non-Latino, white, and/or

American workers. See supra ¶¶ 73-73.a.iii.

       88.     Upon information and belief, Defendant Harris Blacktopping typically gave

Plaintiffs base rate pay raises at a slower rate than non-Latino, white, and/or American workers.

See supra ¶ 73.a.i.

       89.     Defendant Harris Blacktopping typically did not pay Plaintiffs one and a one-half

(1½) times their normal rate of compensation for hours worked over forty (40) in a workweek.

See supra ¶ 80. Upon information and belief, Defendant Harris Blacktopping paid workers who

were non-Latino, white, and/or American one and a one-half (1½) times their normal rate of

compensation for hours worked over forty (40) in a workweek more frequently than Defendant

Harris Blacktopping paid it to Plaintiffs.

       90.     Defendant Harris Blacktopping assigned Plaintiffs to work on contracts covered

by the PWA less frequently than it assigned non-Latino, white, and/or American employees to

work on such contracts.

       91.     Defendant Harris Blacktopping sometimes failed to pay Plaintiffs at the correct

labor PWA rate or operator PWA rate for work performed on contracts covered by the PWA. See

supra ¶¶ 73.b.i-ii. Upon information and belief, Defendant Harris Blacktopping paid the correct

rates to workers who were non-Latino, white, and/or American, who worked on jobs covered by

the PWA.




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       92.     Defendant Harris Blacktopping assigned Plaintiffs to work on machinery less

frequently than it assigned non-Latino, white, and/or American employees to work on

machinery.

       93.     When Plaintiffs asked to work as operators, Defendant Harris Blacktopping

informed them that they were not permitted to do operating work.

       94.     Plaintiffs were either qualified for operator jobs, or would have been qualified for

operator jobs had they received training and practice that was only offered to non-Latino, white,

and/or American workers.

       95.     When Defendant Harris Blacktopping hired Plaintiff Adrian Reyes in or around

2014, Defendants James Harris and Harry Harris told Plaintiff Adrian Reyes that he was being

hired as a machine operator.

       96.     However, once Plaintiff Adrian Reyes began working for Defendants, Defendants

James and Harry Harris assigned him tasks that consisted of manual labor, instead of the duties

of operating machinery.

       97.     Non-Latino, white, and/or American workers hired as operators were generally

assigned duties operating machinery.

       98.     Non-Latino, white, and/or American workers who were not hired as operators

were nonetheless assigned duties operating machinery.

       99.     Defendants required Plaintiffs to work on weekends. Defendants typically did not

require non-Latino, white, and/or American employees to work on weekends.

       100.    Defendants compensated Plaintiffs for weekend work at a flat rate per day, which

amounted to an hourly rate below Plaintiffs’ base rates. See supra ¶¶ 81.a-g. Upon information




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and belief, non-Latino, white, and and/or American employees were not paid daily rates that

amounted to hourly rates below their hourly base rates.

       101.    Plaintiffs were subject to different timekeeping requirements than non-Latino,

white, and/or American employees, which caused Plaintiffs to be paid less than non-Latino,

white, and/or American employees.

       102.    On a daily or almost daily basis, Defendant Harris Blacktopping required

Plaintiffs to arrive at worksites before the workday “officially” began and stay after the workday

“officially” ended. Defendant Harris Blacktopping did not pay Plaintiffs for that time. See supra

¶¶ 82.a-f. Non-Latino, white, and/or American employees did not arrive to worksites before the

“official” day began and did not stay after the “official” day ended.

       103.    Therefore, non-Latino, white, and/or American employees were not required to

perform unpaid labor before and after the “official” workday.

       104.    To reach jobsites from Plaintiffs’ homes or from the Harris Blacktopping

workshop in Morrisville, Plaintiffs sometimes had to drive up to three (3) hours per day. See

supra ¶ 83.

       105.    Defendant Harris Blacktopping did not compensate Plaintiffs for time spent

traveling to and from worksites. See supra ¶ 84.

       106.    Upon information and belief, Defendant Harris Blacktopping permitted non-

Latino, white, and/or American workers to drive to the Harris Blacktopping main office and

begin recording their hours before traveling to worksites.

       107.    Upon information and belief, Defendant Harris Blacktopping compensated non-

Latino, white, and/or American for their travel time from the main office to worksites.




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       108.    Defendant Harris Blacktopping permitted non-Latino, white, and/or American

workers to begin each season’s work earlier in the year and therefore permitted those employees

to work a greater number of hours than Latino, brown-skinned, and/or Mexican workers.

       Hostile Work Environment

       109.    Defendants James Harris and Harry Harris made Plaintiffs perform demanding,

physical labor on asphalt, in the sun, during the summers, without lunch or water breaks. These

shifts sometimes lasted more than ten (10) consecutive hours.

       110.    Latino, brown-skinned, and/or Mexican workers suffered from heat stroke and

fainted as a result of these work conditions on multiple occasions.

       111.    When Plaintiffs brought water or Gatorade to work, Defendants James Harris and

Harry Harris encouraged and permitted non-Latino, white, and/or American workers to take

Plaintiffs’ water or Gatorade without permission.

       112.    Defendants Harry Harris and James Harris allowed non-Latino, white, and/or

American workers to take lunch breaks and multiple additional paid breaks throughout the day.

       113.    During the summer months, Defendants Harry Harris and James Harris permitted

non-Latino, white, and/or American workers to take paid breaks for multiple hours at a time,

while Latino, brown-skinned, and/or Mexican workers were required to continue working.

       114.    While Plaintiffs performed manual labor in the sun, non-Latino, white, and/or

American workers were permitted to rest in the air-conditioned cabs of machines.

       115.    Defendants James Harris and Harry Harris instructed Plaintiffs that they were

only to use machines when there was no non-Latino, white, and/or American worker available to

use the machines instead.




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       116.    Defendant Harry Harris and James Harris assigned non-Latino, white, and/or

American workers significantly less manual labor than they assigned to Plaintiffs. Instead, non-

Latino, white, and/or American workers operated the machines.

       117.    When Defendants James Harris and Harry Harris were displeased or angry with

Plaintiffs, they threw asphalt on the ground for Plaintiffs to flatten. Although flattening asphalt is

a task that is accomplished ordinarily and most easily with a machine, Defendants James Harris

and Harry Harris required Plaintiffs to flatten it manually with shovels. Defendants James Harris

and Harry Harris demeaned Plaintiffs in this way multiple times per week. Defendants James

Harris and Harry Harris did not demean non-Latino, white, and/or American workers in this way.

       118.    Non-Latino, white, and/or American coworkers frequently subjected Plaintiffs to

degrading and offensive comments, profanity, insults, and yelling.

        a.     Plaintiffs were repeatedly called “border hoppers” and “motherfuckers.”

        b.     Non-Latino, white, and/or American workers told Plaintiffs that they “wanted to

tell Trump about” Plaintiffs.

        c.     When police drove past worksites, non-Latino, white, and/or American workers

pointed at Plaintiffs and yelled to the police: “They’re here!”

        d.     Non-Latino, white, and/or American workers repeatedly told Plaintiffs that the

police were looking for them.

        e.     When Plaintiffs were occasionally permitted to operate machinery, the non-

Latino, white, and/or American workers accused Plaintiffs of “stealing their jobs.”

        f.     Non-Latino, white, and/or American workers told Plaintiffs to “go back to [their]

country.”




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        119.   Defendants James Harris and Harry Harris were frequently present on job sites

and witnessed the verbal abuse described in paragraphs 118.a-f. When they witnesses abuse, they

laughed alongside the non-Latino, white, or American workers who were perpetrating the abuse.

        120.   Defendant Harry Harris perpetrated verbal abuse against Plaintiffs, alongside the

non-Latino, white, and/or American workers. Defendant Harry Harris frequently called Plaintiffs

“border hoppers” or “grass hoppers,” said that Trump was going to deport Plaintiffs, and told

Plaintiffs that the police driving past worksites were coming to arrest Plaintiffs.

        121.   This verbal abuse described in paragraphs 118.a-f was perpetrated against

Plaintiffs on a daily or weekly basis.

        122.   Defendants did not discipline workers who engaged in verbal abuse against

Plaintiffs.

        123.   Plaintiffs felt humiliated, insulted, distressed, and inconvenienced by the verbal

harassment they suffered.

        124.   A reasonable person in Plaintiffs’ position would have been detrimentally affected

by Defendants’ conduct.

        Plaintiffs’ Complaints of Discrimination

        125.   Defendants did not have a formal process through which employees could make

complaints about discriminatory treatment on the basis of race, skin color, and/or national origin.

        126.   In fact, Defendants never communicated any means, formal or informal, through

which employees could report discriminatory treatment.

        127.   On several occasions, Plaintiffs complained to Defendant James Harris about

discriminatory treatment.




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        128.   Defendant James Harris did not take any action in response to remediate

Plaintiffs’ complaints.

        129.   In one instance following Plaintiffs’ complaints of discrimination in November

2019, Defendant James Harris offered that Defendants would pay Plaintiff Adrian Reyes for

additional work time at the beginning and end of the workday. Plaintiff Adrian Reyes had

already been working that time without compensation. See supra ¶¶ 82.a-f. After approximately

one week of making the additional payments to Plaintiff Adrian Reyes, Defendants ceased

making those payments.

Plaintiffs’ Discharge and Defendants’ Subsequent Conduct

        130.   Defendants discharged Plaintiff Adrian Reyes in September 2020. Shortly

thereafter, Plaintiffs Juan Reyes, Benjamin Ruiz, and Luis Roque ceased working for Defendant

Harris Blacktopping because of disparate pay and a continued and escalating hostile work

environment, which was so offensive and humiliating to them that they felt compelled to leave

their jobs.

        131.   Although Defendants and Plaintiffs had previously agreed that Defendants would

pay Plaintiffs for unused vacation hours when Plaintiffs left Defendants’ employ, Defendants did

not pay Plaintiffs for their unused vacation hours.

        132.   Defendants contacted multiple landscaping and construction companies with

whom Plaintiffs Adrian Reyes, Juan Reyes, Benjamin Ruiz, and Luis Roque had sought work,

including Blair Corporation. Defendants told those companies not to work with Plaintiffs Adrian

Reyes, Juan Reyes, Benjamin Ruiz, and Luis Roque.

        133.   Upon information and belief, Defendants made these calls for the purpose of

damaging Plaintiffs’ ability to work for these third party companies.




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       134.    Defendants’ efforts were successful with respect to Blair Corporation. After being

contacted by Defendants, Blair Corporation refused to work with Plaintiffs Adrian Reyes, Juan

Reyes, Benjamin Ruiz, and Luis Roque.

       135.    Had Defendants not interfered with the relationship between Plaintiffs and Blair

Corporation, Plaintiffs Adrian Reyes, Juan Reyes, Benjamin Ruiz, and Luis Roque would have

obtained, at a minimum, several months of full time work from Blair Corporation. As a

consequence, Plaintiffs lost several months’ pay.

                                 FIRST CAUSE OF ACTION
                          Violations of the Fair Labor Standards Act
                             All Plaintiffs Against All Defendants

       136.    All previous paragraphs are incorporated as though fully set forth herein.

       137.    The FLSA requires that covered employees be compensated for all hours worked

in excess of forty (40) hours per week at a rate not less than one and one-half (1½) times the

regular rate at which he is employed. 29 U.S.C. § 207(a)(1).

       138.    Defendants are subject to the wage requirements of the FLSA because they are

“employers” under 29 U.S.C. § 203(d).

       139.    At all relevant times, Defendants are “employers” engaged in interstate commerce

and/or the production of goods for commerce within the meaning of the FLSA. 29 U.S.C. § 203.

       140.    At all relevant times, Plaintiffs are covered employees entitled to the above-

described FLSA protections. 29 U.S.C. § 203(e).

       141.    Plaintiffs are entitled to be paid overtime compensation for all hours worked over

forty in a workweek. 29 U.S.C. § 207(a)(1); 29 C.F.R. § 778.112.




                                                24
       142.    Defendants knowingly failed to compensate Plaintiffs at a rate of one-and-one-

half (1½) times their regular hourly wage for hours worked in excess of forty (40) hours per

week, in violation of 29 U.S.C. § 207(a)(1) or 29 C.F.R. § 778.112.

       143.    In violating the FLSA, Defendants acted willfully and with reckless disregard of

clearly applicable FLSA provisions.

       144.    Defendants failed to comply in good faith with the FLSA.

       145.    Pursuant to 29 U.S.C. § 216.6, Defendants are liable Plaintiffs for unpaid wages,

liquidated damages, court costs, and attorneys’ fees incurred in recovering the unpaid wages.

                                SECOND CAUSE OF ACTION
                      Violations of the Pennsylvania Minimum Wage Act
                              All Plaintiffs Against All Defendants

       146.    All previous paragraphs are incorporated as though fully set forth herein.

       147.    The Pennsylvania Minimum Wage Act of 1968 (“PMWA”) requires that covered

employees be compensated for all hours worked over forty (40) hours per week at a rate not less

than one and one-half (1½) times the regular hourly rate at pay at which he is employed. 43 P.S.

§ 333.104(c); 34 Pa. Code § 231.41.

       148.    Defendants are subject to the wage requirements of the PMWA because they are

employers under 43 P.S. § 333.103(g).

       149.    Defendants’ compensation scheme that is applicable to Plaintiffs failed to comply

with 43 P.S. § 333.104 and 34 Pa. Code § 231.41.

       150.    As a consequence of the Defendants’ violations of their rights under the PMWA,

Plaintiffs are entitled to their unpaid wages, along with attorneys’ fees and costs of the court,

pursuant to 43 P.S. § 333.113.




                                                 25
                                   THIRD CAUSE OF ACTION
                Violations of the Pennsylvania Wage Payment and Collection Law
                                All Plaintiffs Against All Defendants

        151.     All previous paragraphs are incorporated as though fully set forth herein.

        152.     The Pennsylvania Wage Payment and Collection Law (“WPCL”) requires

employers timely pay all wages earned to their employees on a regularly-scheduled payday. 43

P.S. § 260.3(a).

        153.     Defendants failed to pay Plaintiffs all of their wages on a regularly-scheduled

payday in violation of 43 P.S. § 260.3(a).

        154.     The WPCL requires employers to notify employees of the rate of pay at the time

of hiring, and to notify employees of a change in the pay rate prior to the time of the change. 43

P.S. § 260.4.

        155.     Defendants paid Plaintiffs at various rates without notifying Plaintiffs of changes

in the pay rates prior to the time of the change in violation of 43 P.S. § 260.4.

        156.     The WPCL provides that “[w]here wages remain unpaid for thirty days beyond

the regularly scheduled payday . . . and no good faith contest or dispute of any wage claim

including the good faith assertion of a right to set-off or counter-claim exists accounting for such

non-payment, the employe[e] shall be entitled to claim, in addition [to the wages owed], as

liquidated damages an amount equal to twenty-five percent (25%) of the total amount of wages

due, or five hundred dollars ($500), whichever is greater.” 42 P.S. § 260.10.

        157.     Defendants failed to pay Plaintiffs for all hours worked, and those wages remain

unpaid for more than thirty (30) days.

        158.     Defendants have no good faith reason for withholding any wages owed to

Plaintiffs.




                                                  26
        159.    As a consequence of the Defendants’ violations of Plaintiffs’ rights under the

WPCL, Plaintiffs are entitled to claim unpaid wages and liquidated damages of twenty-five

percent (25%) of the total amount of wages due, or five hundred dollars ($500), whichever is

greater, pursuant to 43 P.S. §§ 260.9a-260.10.

        160.    Plaintiffs are entitled to reasonable attorneys’ fees under 43 P.S. § 260.9a(f).

                               FOURTH CAUSE OF ACTION
        Violations of the Civil Rights Act of 1866 as amended (Disparate Treatment)
                    All Plaintiffs Against Defendant Harris Blacktopping

        161.    All previous paragraphs are incorporated as though fully set forth herein.

        162.    Defendants engaged in unlawful discrimination in violation of the Civil Rights

Act of 1866 as amended. 42 U.S.C. § 1981.

        163.    Contracts of employment incorporate provisions required therein by federal and

state law.

        164.    Plaintiffs are Latino, non-white, and/or of Mexican origin.

        165.    Defendants offered inferior terms and conditions of employment to Plaintiffs and

other workers who were Latino, non-white, and/or of Mexican origin.

        166.    Defendants intentionally deprived Plaintiffs of the same rights as are enjoyed by

white citizens to the creation, performance, enjoyment, and all benefits and privileges, of their

contractual employment relationship with Defendants, in violation of 42 U.S.C. § 1981.

        167.    In its discriminatory actions as alleged above, Defendants acted with malice or

reckless indifference to the rights of Plaintiffs.

        168.    Plaintiffs are entitled to compensatory damages, punitive damages, and attorneys’

fees resulting from Defendants’ denial of their rights to make and enforce contracts.




                                                     27
                                FIFTH CAUSE OF ACTION
    Violations of the Civil Rights Act of 1866 as amended (Hostile Work Environment)
  All Plaintiffs Against Defendants Harris Blacktopping, James Harris, and Harry Harris

        169.    All previous paragraphs are incorporated as though fully set forth herein.

        170.    Defendants engaged in unlawful discrimination in violation of the Civil Rights

Act of 1866 as amended. 42 U.S.C. § 1981.

        171.    Contracts of employment incorporate provisions required therein by federal and

state law.

        172.    Plaintiffs are Latino, non-white, and/or of Mexican origin.

        173.    Defendants and their agents demeaned, degraded, insulted, and threatened

Plaintiffs based on their race and/or color. The hostile work environment was severe and

pervasive based on the nature of the harassment, including egregious statements made by

employees related to Plaintiffs’ race and/or color.

        174.    These unlawful employment practices resulted in physical and emotional pain and

suffering, embarrassment, and humiliation to Plaintiffs.

        175.    Defendants intentionally deprived Plaintiffs of the same rights as are enjoyed by

white citizens to the creation, performance, enjoyment, and all benefits and privileges, of their

contractual employment relationship with Defendants, in violation of 42 U.S.C. § 1981.

        176.    In its discriminatory actions as alleged above, Defendants acted with malice or

reckless indifference to the rights of Plaintiffs.

        177.    Defendants’ conduct would have detrimentally affected a reasonable person in

like circumstances.

        178.    As a direct and proximate result of Defendant’s conduct, Plaintiffs have suffered

damages, including extreme emotional distress, humiliation, inconvenience, and like injuries.




                                                     28
        179.    Plaintiffs are entitled to compensatory damages, punitive damages, and attorneys’

fees resulting from Defendants’ denial of their rights to make and enforce contracts.

                                 SIXTH CAUSE OF ACTION
       Violations of the Civil Rights Act of 1866 as amended (Constructive Discharge)
      Plaintiffs Juan Reyes, Luis Roque, and Benjamin Ruiz Against Defendant Harris
                                             Blacktopping

        180.    All previous paragraphs are incorporated as though fully set forth herein.

        181.    Defendant engaged in unlawful discrimination in violation of the Civil Rights Act

of 1866 as amended. 42 U.S.C. § 1981.

        182.    Contracts of employment incorporate provisions required therein by federal and

state law.

        183.    Plaintiffs are Latino, non-white, or of Mexican origin.

        184.    Defendant intentionally deprived Plaintiffs of the same rights as are enjoyed by

white citizens to the creation, performance, enjoyment, and all benefits and privileges, of their

contractual employment relationship with Defendants, in violation of 42 U.S.C. § 1981.

        185.    Defendant constructively discharged Plaintiffs by creating a hostile work

environment because of Plaintiffs’ race, color, and/or national origin so intolerable that a

reasonable employee would feel forced to resign, in violation of the Civil Rights Act of 1866 as

amended, 42 U.S.C. § 1981.

        186.    Plaintiffs resigned because the harassment they experienced was unbearable and

compelled them to resign.

        187.    In its discriminatory actions as alleged above, Defendants acted with malice or

reckless indifference to the rights of Plaintiffs.

        188.    As a direct and proximate result of Defendant’s conduct, Plaintiffs have suffered

damages, including lost wages and benefits, emotional distress, humiliation, inconvenience, and



                                                     29
like injuries.

        189.     Plaintiffs are entitled to compensatory damages, punitive damages, and attorneys’

fees resulting from Defendants’ denial of their rights to make and enforce contracts.

                                SEVENTH CAUSE OF ACTION
                                        Breach of Contract
                               All Plaintiffs Against All Defendants

        190.     All previous paragraphs are incorporated as though fully set forth herein.

        191.     Defendants entered into contracts with Plaintiffs and each party’s acceptance was

supported by good and valuable consideration. Plaintiffs agreed to provide labor to Defendants.

Defendants agreed to compensate Plaintiffs at agreed upon and legally mandated wage rates and

to pay Plaintiffs for any unused vacation time.

        192.     Plaintiffs fulfilled their contractual obligations by performing labor for

Defendants.

        193.     Defendants breached their contractual obligations by failing to pay Plaintiffs for

all hours worked at agreed upon base rates, by failing to compensate Plaintiffs at elevated rates

on public works projects covered by the PWA, and by failing to pay Plaintiffs their unused

vacation time at the termination of their employment with Defendants.

        194.     Because Defendants breached the contracts, Plaintiffs suffered financial losses.

        195.     Plaintiffs are entitled to monetary damage sufficient to place them in the financial

position they would have been in but for Defendants’ breach.

                                  EIGHTH CAUSE OF ACTION
                                        Breach of Contract
                          Plaintiff Adrian Reyes Against All Defendants

        196.     All previous paragraphs are incorporated as though fully set forth herein.




                                                  30
       197.    Plaintiff Adrian Reyes and Defendants agreed that Plaintiff Adrian Reyes would

perform operator duties and be compensated accordingly.

       198.    Plaintiff Adrian Reyes fulfilled his contractual obligations by performing tasks

Defendants assigned him to complete.

       199.    Defendants breached their duties by assigning Plaintiff Adrian Reyes primarily

manual labor duties, including on public works projects covered by the PWA, and compensating

him at the lower wage rates reserved for manual labor.

       200.    Because Defendants breached the contract, Plaintiff Adrian Reyes suffered

financial losses.

       201.    Plaintiff Adrian Reyes is entitled to monetary damage sufficient to place him in

the financial position he would have been in but for Defendants’ breach.

                                 NINTH CAUSE OF ACTION
               Violations of Pennsylvania Common Law for Unjust Enrichment
                              All Plaintiffs Against All Defendants

       202.    All previous paragraphs are incorporated as though fully set forth herein.

       203.    Defendants have received and benefitted from the uncompensated labor of

Plaintiffs, such that to retain said benefit without compensation would be inequitable.

       204.    Defendants devised and implemented a scheme to increase their profits by

securing work from Plaintiffs without compensating them for the fair value of that work.

       205.    Plaintiffs worked hours in a variety of context for which Defendants never

compensated them.

         a.    Plaintiffs worked hours during the workweek that they recorded, but then

 Defendants removed some of those hours on a regular basis. See supra ¶ 76.




                                                31
         b.     Plaintiffs performed off-the-clock work both at the beginning and at the end of

 the workday, on a daily or almost daily basis. Defendants did not compensate Plaintiffs for this

 work. See supra ¶¶ 82-82(f).

         c.     Plaintiffs were required to drive to distant worksites, sometimes as far as an hour-

 and-a-half away from the Harris Blacktopping workshop and from Plaintiffs’ homes.

 Defendants did not compensate Plaintiffs for time spent traveling. See supra ¶¶ 83-84.

         206.   Plaintiffs also performed work for which they were compensated at unjustly low

rates.

         a.     Plaintiffs were sometimes not compensated at the time-and-a-half overtime

 premium for which work over forty hours in a week is fairly valued. The overtime premium is

 the fair market value for such hours because anything less than the overtime premium would be

 in violation of law.

         b.     Plaintiffs were sometimes not paid at the prevailing wage rate required by state

 law for work completed on municipal government contracts. The prevailing wage is the fair

 market value for such work because any anything less than the prevailing wage would be in

 violation of law.

         c.     Plaintiffs were paid less than their the fair market value for their labor when they

 provided labor on weekends.

         207.   Contrary to all good faith and fair dealing, Defendants induced Plaintiffs to

perform work while failing to compensate them fairly for all hours.

         208.   Defendants received and benefited from the uncompensated and

undercompensated labors of Plaintiffs such that Defendants were unjustly enriched at the

expense of and to the detriment of the Plaintiffs.




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       209.    Defendants retained and continue to retain such benefits contrary to the

fundamental principles of justice, equity, and good conscience.

       210.    Accordingly, Plaintiffs are entitled to judgment in the amount equal to the

benefits unjustly retained by Defendants.

                               TENTH CAUSE OF ACTION
              Intentional Interference with Prospective Contractual Relations
     Plaintiffs Adrian Reyes, Juan Reyes, Luis Roque, and Benjamin Ruiz Against All
                                            Defendants

       211.    All previous paragraphs are incorporated as though fully set forth herein.

       212.    Plaintiffs had prospective contractual relationships with third-party construction,

paving, and landscaping companies.

       213.    Defendants took purposeful action with the intent to harm the business

relationship between Plaintiffs and these third-party companies.

       214.    Defendants had no privilege or justification for these intentional attempts to

undermine Plaintiffs’ business relationships with third-party companies.

       215.    Defendants’ efforts to undermine these relationships were successful, preventing

Plaintiffs from working with third-party companies.

       216.    Consequently, Plaintiffs are entitled to actual damages resulting from Defendants’

conduct.

                            ELEVENTH CAUSE OF ACTION
                    Race, Color, and/or National Origin Discrimination
                      Disparate Treatment in Violation of Title VII
 Plaintiffs Adrian Reyes, Juan Reyes, Luis Roque, and Benjamin Ruiz Against Defendant
                                      Harris Blacktopping

       217.    All previous paragraphs are incorporated as though fully set forth herein.




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       218.    Defendants engaged in unlawful discrimination on the basis of race, color, and/or

national origin in violation of Section 703(a) of Title VII of the Civil Rights Act, as amended.

See 42 U.S.C. § 2000e-2(a).

       219.    The effect of the conduct described in ¶¶ 85-135, supra, has been to deprive

Plaintiffs of equal employment opportunities and otherwise adversely affect their status as

employees because of their race, color, and/or national origin.

       220.    These unlawful employment practices resulted in Plaintiffs being subject to

unlawful pay practices solely because of their race, color, and/or national origin.

       221.    The unlawful employment practices described in ¶¶ 85-135, supra, were

intentional.

       222.    The unlawful employment practices described in ¶¶ 85-135, supra, were done

with malice or with reckless indifference to Plaintiffs’ federally protected rights.

       223.    As a direct and proximate result of Defendants’ unlawful employment practices,

Plaintiffs have suffered damages, including lost wages and benefits, emotional distress,

humiliation, inconvenience, and like injuries.

                            TWELFTH CAUSE OF ACTION
                    Race, Color, and/or National Origin Discrimination
                    Hostile Work Environment in Violation of Title VII
 Plaintiffs Adrian Reyes, Juan Reyes, Luis Roque, and Benjamin Ruiz Against Defendant
                                      Harris Blacktopping

       224.    All previous paragraphs are incorporated as though fully set forth herein.

       225.    Defendants engaged in unlawful discrimination on the basis of race, color, and/or

national origin in violation of Section 703(a) of Title VII of the Civil Rights Act, as amended.

See 42 U.S.C. § 2000e-2(a).




                                                 34
       226.    The effect of the conduct described in ¶¶ 85-135, supra, has been to deprive

Plaintiffs of equal employment opportunities and otherwise adversely affect their status as

employees because of their race, color, and/or national origin.

       227.    These unlawful employment practices created a hostile work environment.

       228.    These unlawful employment practices resulted in physical and emotional pain and

suffering, embarrassment, and humiliation to Plaintiffs.

       229.    The unlawful employment practices described in ¶¶ 85-135, supra, were

intentional.

       230.    The unlawful employment practices described in ¶¶ 85-135, supra, were done

with malice or with reckless indifference to Plaintiffs’ federally protected rights.

       231.    Defendants’ conduct would have detrimentally affected a reasonable person in

like circumstances.

       232.    As a direct and proximate result of Defendant’s conduct, Plaintiffs have suffered

damages, including extreme emotional distress, humiliation, inconvenience, and like injuries.

                           THIRTEENTH CAUSE OF ACTION
                     Race, Color, and/or National Origin Discrimination
                      Constructive Discharge in Violation of Title VII
      Plaintiff Juan Reyes, Luis Roque, and Benjamin Ruiz Against Defendant Harris
                                           Blacktopping

       233.    All previous paragraphs are incorporated as though fully set forth herein.

       234.    Defendant engaged in unlawful discrimination on the basis of race, color, and/or

national origin in violation of Section 703(a) of Title VII of the Civil Rights Act, as amended.

See 42 U.S.C. § 2000e-2(a).

       235.    Plaintiffs are Latino, non-white, or of Mexican origin.

       236.    Defendant constructively discharged Plaintiffs by creating a hostile work




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environment because of Plaintiffs’ race, color, and/or national origin so intolerable that a

reasonable employee would feel forced to resign, in violation of Title VII of the Civil Rights Act

of 1964, 42 U.S.C. § 2000e-2(a).

       237.    Plaintiffs resigned because the harassment they experienced was unbearable and

compelled them to resign.

       238.    Defendant’s actions toward Plaintiffs were undertaken with malice and/or

reckless indifference toward their federally protected rights.

       239.    As a direct and proximate result of Defendant’s conduct, Plaintiffs have suffered

extreme emotional distress, lost wages, humiliation, inconvenience, and like injuries.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs seek the following relief:

       1.      Monetary damages for unpaid overtime in an amount to be determined at trial,

plus liquidated damages in an equal amount and interest, as provided by the FLSA, 29

U.S.C. § 216(b);

       2.      Damages to Plaintiffs for unpaid overtime wages, in accordance with the PMWA,

43 P.S. § 333.113;

       3.      Damages to Plaintiffs for actual and statutory liquidated damages in accordance

with the WPCL, 43 P.S. §§ 260.9a-260.10;

       4.      The full value of wages Plaintiffs would have received had it not been for

Defendants’ discriminatory and unlawful treatment of Plaintiffs, with interest until the date

Plaintiffs are offered employment into a position substantially equivalent to the one that

Plaintiffs occupied;




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        5.      Reinstatement into the positions Plaintiffs held, together with all benefits incident

thereto;

        6.      Front pay in the event reinstatement is not feasible;

        7.      Compensatory damages against Defendants to compensate Plaintiffs for

emotional distress, humiliation, inconvenience, and like injuries;

        8.      Punitive damages to punish Defendants and to deter Defendants and others from

like conduct;

        9.      Damages to Plaintiffs in accordance with their contract law claims;

        10.     Damages to Plaintiffs for unjust enrichment;

        11.     Damages to Plaintiffs for intentional interference with prospective contractual

relations;

        12.     Liquidated and statutory damages to the fullest extent permitted under the law;

        13.     Litigation costs, expenses, and attorneys’ fees to the fullest extent permitted under

the law; and

        14.     Such other and further relief as this Court deems just and proper.


Dated: January 14, 2022
                                               Respectfully submitted,


                                               By: /s/ Samuel H. Datlof
                                               Samuel H. Datlof, Esq.
                                                    PA ID#: 324716
                                                    Email: sdatlof@justiceatworklegalaid.org
                                               Liz Chacko, Esq.
                                                    PA ID#: 95115
                                                    Email: lchacko@justiceatworklegalaid.org
                                               Justice at Work
                                               990 Spring Garden Street, Suite 300
                                               Philadelphia, PA 19123
                                               Telephone: (215) 733-0878



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Nina Menniti, Esq.
     PA ID#: 326828
     Email: nmenniti@justiceatworklegalaid.org
Justice at Work
5907 Penn Ave., Suite 320
Pittsburgh, PA 15206
Telephone: (215) 733-0878

Attorneys for Plaintiff




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